Case 2:25-mc-00006-TOR ECFNo.1-1_ filed 04/04/25 PagelID.35 Pageiof4

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Superior Court of Washington
For Spokane County

Case No. 24-2-04711-32
ALAA ELKHARWILY AND WALL

STREET APARTMENTS, LLC NOTICE OF FILING NOTICE OF
REMOVAL TO THE
PETITIONERS, UNITED STATES DISTRICT
COURT
Vv.

CITY OF SPOKANE CLERK'S ACTION REQUIRED

RESPONDENTS

TO; THE COURT CLERK:

Please take notice that, on April 4, 2025,, Petitioner Alaa Elkharwily filed a Notice of
Removal as authorized by 28 U.S.C. §§ 1442, 1443 , thereby removing this matter from the
Spokane County Superior Court to the United States District Court for the Eastern District of
Washington at Spokane. A true and correct copy of that Notice of Removal is attached as Exhibit
A.

Please take further notice that, upon the date of filing of the Petition of Removal with the
Clerk of the United States District Court for the Eastern District of Washington, and the filing of
the foregoing notice, Defendants have effected removal and this Superior Court shall proceed no

further unless and until this case is remanded under 28 U .S.C. § 1446(d).
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Mae Bo

sAlaa Elkharwily

Alaa Elkharwily, MD
Petitioner , pro se

WA mailing address for service
726 W 6th Ave # 303

Spokane, WA 99204
nisulal2@yahoo.com
elkharwily.alaa@gmail.com

Dated : April 4, 2025

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DECLARATION OF SERVICE

I hereby declare that on the date set forth below, the foregoing document was filed with
the Clerk of the Court and a served a true and correct copy of the foregoing was served
on the parties listed below in the manners indicated:

James B. King

818 W. Riverside Ave., Suite 250

Spokane, Washington 99201-0910

JKing@ecl-law.com ( via email) in addition to ECF and personal delivery)

Yi

S/ Alaa Elkharwily

Alaa Elkharwily, MD

Petitioner/ Defendant to City of
Spokane proceedings and order
Appellant, pro se

Service : Mailing Address in WA
726 W 6th Ave # 303

Spokane, WA 99204.

Respectfully submitted this April 4. 2025,

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EXHIBIT A — Notice of Removal
